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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )         Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI,     )
JOSEPH P. LALLY, JR.,    )
RICHARD W. MCDONOUGH,    )
and RICHARD D. VITALE,   )
     Defendants          )


                           MEMORANDUM AND ORDER

WOLF, D.J.                                                  March 9, 2010

I. SUMMARY

     The government moved to file a sealed, ex parte affidavit (the

"Motion to File") in connection with its opposition to defendants'

motion to dismiss the superseding indictment for abuse of the grand

jury (the "Motion to Dismiss").         The court allowed the Motion to

File without prejudice to reconsideration after further briefing.

The court has reconsidered. The Motion to File is now being denied

because there is no compelling circumstance that would justify the

affirmative use of ex parte information to counter the defendants'

defense.     Therefore, the government is being ordered either to

provide some or all of the ex parte information to the defendants

or state that it declines to do so.        To the extent the government

declines,    the   court   will   not   consider   the   information   that

defendants have not received.

II. BACKGROUND

     On June 2, 2009, the government filed the original indictment
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in this case.         On October 13, 2009, the government filed a

superseding indictment.

     On November 10, 2009, the defendants moved to dismiss the

superseding indictment because it is the product of grand jury

abuse.1     On December 18, 2009, the government filed an opposition

to the Motion to Dismiss.         On that same day, the government also

filed, ex parte and under seal, the Motion to File, in which it

requested leave to submit a sealed, ex parte affidavit of Assistant

United     States    Attorney    S.   Theodore    Merritt    (the   "Merritt

Affidavit") that explains the circumstances surrounding the grand

jury process.       The Merritt Affidavit and various exhibits were

appended to the Motion to File.

     In a December 29, 2009 Order, the court allowed the Motion to

File without prejudice to reconsideration.          The court also ordered

the government to serve on the defendants redacted versions of the

Motion to File and the Merritt Affidavit by January 6, 2010.              The

court further ordered the defendants to submit any opposition to

the Motion to File by January 20, 2010, and ordered the government

to reply by January 27, 2010.

     On January 6, 2010, the government filed for the public record

a redacted version of the Motion to File (the "Redacted Motion to

File").     Also on January 6, 2010, the government filed under seal


     1
      Defendants Salvatore DiMasi and Richard Vitale filed the
Motion to Dismiss. Defendants Joseph Lally and Richard McDonough
later joined that motion.

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and    served   on   defendants   a    redacted   version     of   the   Merritt

Affidavit (the "Redacted Merritt Affidavit"), which omits certain

information and all of the exhibits.           Consequently, defendants now

have    the   Redacted   Motion   to    File    and   the   Redacted     Merritt

Affidavit.

       The defendants did not file an opposition by January 20, 2010

and, therefore, the government did not reply.               In response to an

inquiry by the Deputy Clerk, the defendants filed an opposition on

March 4, 2010.       The government replied on March 5, 2010.                The

question is, therefore, now ripe for resolution.

III. DISCUSSION

       In support of the Motion to File, the government relies on In

re: Grand Jury Proceedings, 30 F.3d 126 (1st Cir. 1994)(table).

That case stands for the proposition that, when an immunized

witness refuses to testify before the grand jury on the ground that

such testimony would constitute abuse of the grand jury process,

the court may rely on a sealed, ex parte affidavit from the

government to decide whether to compel the witness to testify. See

In re: Grand Jury Proceedings, 30 F.3d at *2; cf. In re Grand Jury

Subpoena, 223 F.3d 213, 219 (3d Cir. 2000).                 The case does not

directly address the issue raised by the Motion to File because the

Merritt Affidavit responds to defendants' motion to dismiss an

indictment, rather than a motion to compel or avoid the giving of

immunized testimony. See In re: Grand Jury Proceedings, 30 F.3d at


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*2.

      The more relevant case is the First Circuit's decision in

United States v. Claudio, 44 F.3d 10, 14 (1st Cir. 1995), a case

not cited by the parties.            In Claudio, the defendant moved to

dismiss on the ground that his prosecution was barred by the double

jeopardy clause.         Id. at 12.     The government included three ex

parte exhibits in its opposition.           Id.   The defendant was advised

of the nature of the ex parte exhibits, but not their content.             Id.

The trial court denied the defendant's request for access to the ex

parte exhibits and denied the motion to dismiss.                    Id.    The

defendant appealed.        Id.

      The First Circuit affirmed the denial of the motion to

dismiss, but did not rule on whether the defendant should have been

provided the ex parte exhibits because they related only to an

irrelevant issue.        See id. at 13.     Lack of access was, therefore,

not prejudicial in any event.          See id.

      Nevertheless, anticipating that the issue would arise again,

the First Circuit continued to discuss the propriety of the ex

parte exhibits in lengthy dictum in order to caution district

courts against considering ex parte evidence that affirmatively

counters a defendant's defense.2         See id. at 14.    The First Circuit


      2
      "[C]ourts often, quite properly, give considerable weight
to dictum - particularly to dictum that seems considered as
opposed to casual." Dedham Water Co. v. Cumberland Farms Dairy,
Inc., 972 F.2d 453, 459 (1st Cir. 1992). The dictum in Claudio
appears to be thoroughly considered; the First Circuit

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acknowledged that "from time to time, in special circumstances,

judges in criminal cases do receive submissions from prosecutors

whose contents are not known to the defense; and in extraordinarily

rare     cases   even   the   existence    of     the    submission     may   be

undisclosed."     Id. at 14 (citing United States v. Innamorati, 996

F.2d 456, 487 (1st Cir. 1993)). However, "our traditions make both

of   these   courses    presumptively     doubtful,     and   the   burden    of

justification is upon the government."            Id.

       Upon a "particularized showing of substantial cause," the

government may sometimes submit ex parte information to resolve

discovery    disputes,   as   when   it   seeks    a    ruling   that   certain

potentially discoverable information is privileged, irrelevant, or

outside of its obligation to provide a defendant with material

exculpatory evidence. See id.; Innamorati, 996 F.2d at 487-88; cf.

United States v. Higgins, 995 F.2d 1, 3 (1st Cir. 1993)(citing

United States v. Southard, 700 F.2d 1, 10-11 (1st Cir. 1983)).

       In contrast, however, the government may not affirmatively

introduce ex parte evidence to obtain a ruling on the merits of a

defendants' motion to dismiss unless the government demonstrates

that there are "compelling" grounds to do so. See Claudio, 44 F.3d

at 14-15; cf. United States v. Abu Ali, 528 F.3d 210, 255 (4th Cir.

2008).    The mere fact that information would normally be protected



incorporated it specifically to guide judicial decisionmaking in
future prosecutions. See Claudio, 44 F.3d at 14.

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from disclosure by a general rule of discovery is not alone

sufficiently compelling to permit such affirmative use.                       See

Claudio, 44 F.3d at 14 ("The idea that general safeguards against

wide-ranging discovery like the Jencks Act and Rule 6 would be

sufficient to justify a conviction on secret evidence is patently

absurd.").        As   the   First   Circuit    explained,       the   fact   that

information is protected from discovery "is not a license for the

government to use such statements as evidence in court and then

deny the defense access to them."            Id. at 14.

     Here, just as in Claudio, the defendants have moved to

dismiss, and the government seeks to counter that motion with

information      submitted    ex   parte.      Id.   at    12.    Consequently,

Claudio's     dictum   is    directly   on    point.       See   id.   at   13-15.

Therefore, court is applying its standard.                See id. at 14-15.

     The Motion to File is being denied because the government has

not articulated any "compelling" justification for presenting the

redacted information to the court while withholding it from the

defense.       See id. at 14.        The justifications offered by the

government for the affirmative use of ex parte information might be

sufficient to protect information from disclosure if the defendants

moved for discovery.3        See, e.g., Fed. R. Crim. P. 6; In re San


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      The justifications that have been publicly disclosed
include: (1) "defendants have no need for the information for
purposes of this motion;" (2) some of the information is grand
jury testimony; and (3) "[s]ome of the information in the
affidavit . . . explains the government's legal strategy and

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Juan Dupont Plaza Hotel File Litigation, 859 F.2d 1007, 1014-15

(1st Cir. 1988)(describing work product privilege).          However, the

central point of Claudio is that the fact that information is

shielded from disclosure or may be used ex parte to decide a

discovery   dispute    does   not   alone   entitle   the   government   to

affirmatively use that information against a defendant on an ex

parte basis.   See 44 F.3d at 14.        Rather, affirmative use of ex

parte information by the government requires a justification that

is "far more compelling."     See id.    Although the First Circuit did

not give any examples of what type of circumstance would be

sufficiently compelling, it is clear that the term "compelling"

should be construed narrowly. See id.        As the First Circuit wrote,

the position "that the government can never affirmatively use

information in court and withhold it from the defense . . . may

overstate the matter; but not by much."        See id.

     Here, none of the justifications offered by the government are

extreme or unusual.    See Mot. to File at 2.     There is no allegation

of a threat to any person's physical safety.             Nor is there any

allegation of any other type of imminent harm that would result

from disclosure.      See Mot. to File at 1-2.        It appears that, at

most, the government wants to affirmatively use on an ex parte


mental impressions in deciding what charges to bring." See
Redacted Mot. to File at 2. The undisclosed justifications
contained in the sealed, ex parte Motion to File are not,
individually or when added to the disclosed justifications,
"compelling." See Mot. to File at 1-2.

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basis information that it might otherwise attempt to withhold from

discovery under common claims that the information is privileged or

that disclosure is not required by the Federal Rules of Criminal

Procedure.       Such use would be inconsistent with the teaching of

Claudio.      See 44 F.3d at 14.

IV. ORDER

      Accordingly, it is hereby ORDERED that:

      1.    The Motion to File Affidavit Ex Parte and Under Seal

(Docket No. 174) is DENIED.           However this motion and the appended

affidavit and exhibits will remain on the docket ex parte and under

seal solely for the purpose of ensuring that the record of this

proceeding is complete.

      2.      When deciding the defendants' Motion to Dismiss the

Superseding Indictment for Abuse of the Grand Jury (Docket No. 137)

the   court      will   rely   only    on       information   available   to    the

defendants.      At present, that information includes the contents of

the Redacted Merritt Affidavit (Docket No. 189).                   By March 11,

2010, at 5:00 p.m., the government shall report either that it

intends     to    supplement    the    Redacted       Merritt   Affidavit      with

additional information which will be served on the defendants

forthwith or that no additional information will be provided to the

defendants.



                                                        /s/ Mark L. Wolf
                                                  UNITED STATES DISTRICT JUDGE

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